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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. Criminal No. 1:22-mj-02965-JMC

SARAH SORG
Defendant.

ORDER PURSUANT TO Fed R. Crim. P. 5(f)

As amended on October 21, 2020, Federal Rule of Criminal Procedure 5(f) and the Due
Process Protections Act, Pub. L. No 116-182, 134 Stat. 894 (Oct. 21, 2020) require that:

“In all criminal proceedings, on the first scheduled court date when both prosecutor and
defense counsel are present, the judge shall issue an oral and written order to prosecution and
defense counsel that confirms the disclosure obligation of the prosecutor under Brady v. Maryland,
373 U.S. 83 (1963) and its progeny, and the possible consequences of violating such an order under
applicable law.”

Accordingly, the Court ORDERS the United States to adhere to the disclosure obligations
set forth in Brady v. Maryland, 373 U.S. 83 (1963) and its progeny. Brady v. Maryland instructs
that “the suppression by the prosecution of evidence favorable to an accused” violates due
process where the evidence is “material either to guilt or to punishment, irrespective of the good
faith or bad faith of the prosecution.” 373 U.S. at 87. Failure to adhere to this requirement in a
timely manner may result in serious consequences, including, but not limited to, exclusion of
evidence, adverse jury instructions, dismissal of charges, contempt proceedings, vacating a
conviction, or disciplinary action against the prosecution.

Having given counsel the oral admonition required by the Due Process Protections Act,
the United States is ordered to produce in a timely manner all exculpatory evidence to the
defendant pursuant to Brady v. Maryland and its progeny. Not doing so may result in the
imposition of the sanctions referenced in this Order.

It is SO ORDERED. Ah, Y

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J. Mat GS son

United States Magistrate Judge

 

Date: October 20, 2022

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